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                   EXHIBIT C
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 David R. Garner (16054)
 Mark A. Nickel (14082)
 GORDON REES SCULLY MANSUKHANI, LLP
 2 Main, Suite 1600
 Salt Lake City, UT 84101
 Telephone: (801) 204-9990
 Facsimile: (385) 282-7590
 dgarner@grsm.com
 mnickel@grsm.com
 Attorneys for Defendant

 Brian Middlebrook (Pro Hac Vice forthcoming)
 Alexandra Sandler (Pro Hac Vice forthcoming)
 GORDON REES SCULLY MANSUKHANI, LLP
 One Battery Park Plaza, 28th Floor
 New York, NY 10004
 Telephone: (212) 269-5500
 bmiddlebrook@grsm.com
 asandler@grsm.com
 Attorneys for Defendant


                           IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF UTAH


  Kristin Pilkington, individually and on behalf of        [PROPOSED] ORDER GRANTING
  all others similarly situated,                           DEFENDANT’S MOTION TO DISMISS
                                                           UNDER FED. R. CIV. PRO. 12(B)(1), OR TO
                            Plaintiff,                     TRANSFER PURSUANT TO 28 U.S.C.
  vs.                                                      §1404(a)

  Gorsuch, LTD.,                                           Case No. 2:24-cv-00434-DBP
                            Defendant.
                                                           Judge Robert J. Shelby
                                                           Magistrate Judge Dustin B. Pead


         Defendant Gorsuch, Ltd.’s (“Defendant”) Motion, brief in support, Plaintiff’s response and brief,

 and Defendant’s reply are before the Court. Defendant moves pursuant to Federal Rules of Civil Procedure

 12(b)(1) to dismiss Plaintiff’s Class Action Complaint for lack of subject matter jurisdiction, or alternatively,

 pursuant to 28 U.S.C. §1404(a), to transfer this matter to the District Court of Colorado. The Court has

 considered all arguments of the parties, and the Court hereby GRANTS Defendant’s Motion.
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       IT IS SO ORDERED.


       Dated: ____________________
                                            Hon. Robert J. Shelby
                                            U.S. District Judge
